       Case: 1:22-cr-00184 Document #: 9 Filed: 04/11/22 Page 1 of 1 PageID #:15




                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF ILLINOIS

          United States of America             )
                 Plaintiff(s),                 )
                                               )               Case No: 1:22-cr-00184-1
                 v.                            )               Magistrate Judge Beth W. Jantz
                                               )
          Olivia L. Bryant                     )
                 Defendant(s),                 )

                                              ORDER

Initial appearance and arraignment held on 4/11/2022. By agreement and consent of all the parties
and pursuant to the CARES Act, all parties appear by telephone conference. The Court finds
defendant is unable to afford counsel. Enter order appointing Attorney Anjali Biala as counsel for
defendant. Defendant is advised of charges and maximum penalties available under the law and
informed of her rights. Defendant enters plea of not guilty to all counts in the indictment. Government
and defendant agree on certain proposed conditions of release. Court enters Order Setting Conditions
of Release and personal recognizance bond. The Court read each of the conditions of release to
Defendant, she stated that she understood them, and would comply. Defendant authorized her
attorney, Anjali Biala, to sign the Order Setting Conditions of Release, as well as the Financial
Affidavit, on her behalf. Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, the court
orally admonished the parties, confirmed the government's obligation to disclose favorable evidence
to the accused under Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, and ordered it to do
so. The Rule 16.1 (a) conference is to be held on 4/18/2022. Pretrial motions will be set in a sperate
court order by the District Judge. A status hearing before Judge Blakey set for 5/13/2022 at 1:00 p.m.
Without objection, time is excluded from 4/11/2022 to and including 5/13/2022 in the interest of
justice and for the filing of any pretrial motions pursuant to 18 USC §3161(h)(7)(A)(B) and 18 USC
§3161(h)(1)(D).

(00:15)


 Date: 04/11/2022                                             /s/ _______________________
                                                              Beth W. Jantz
                                                              United States Magistrate Judge
